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      7
      8
                                         UNITED STATES DISTRICT COURT
      9
                                     CENTRAL DISTRICT OF CALIFORNIA
    10
                                               WESTERN DIVISION
    11
               HB CONTENT, LLC, a California limited            Case No. 2:19-cv-01376
    12         liability company,
                                                                STIPULATION DISMISSING
    13                            Plaintiff,                    ACTION AND ALL CLAIMS
                      vs.                                       WITH PREJUDICE PURSUANT
    14                                                          TO FED. R. CIV. P. 41(a)(1)(a)(ii)
               MWW GROUP, LLC, a Delaware limited
    15         liability company; DOES 1-10,                    Action Filed:   January 15, 2019
    16                            Defendants.                   Action Removed: February 25, 2019
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                                            STIPULATION DISMISSING ACTION
     Case 2:19-cv-01376-PSG-SS Document 15 Filed 04/17/19 Page 2 of 2 Page ID #:90



 1              Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) it is stipulated by all Parties that the
 2     action and all claims should be DISMISSED with prejudice, with the Parties to bear
 3     their own costs and attorneys’ fees.
 4     Dated: April 17, 2019                          HARDER LLP
 5
 6                                                    By: /s/ Jordan Susman
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                                                           Attorney for Plaintiff
10                                                         HB Content, LLC
11
12
13     Dated: April 17, 2019                          ARNOLD & PORTER KAYE SCHOLER
                                                      LLP
14
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                                                           Attorney for Defendant
20                                                         MWW GROUP, LLC
21
22
23
       I attest that all other signatories listed, and on whose behalf the filing is submitted,
24
       concur in the filing’s content and have authorized the filing.
25
26                                                               /s/ Jordan Susman
                                                                Jordan Susman
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                                      STIPULATION DISMISSING ACTION
